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                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

UNITED STATES OF AMERICA                     )
                                             )
v.                                           )          CR NO. 2:15CR22-MHT
                                             )                     WO
CARLOS WASHINGTON                            )

                            ORDER ON ARRAIGNMENT

       On 4/6/2015, the defendant, Carlos Washington, appeared in person and in open
court with counsel, Richard F. Matthews, Jr., and was arraigned in accordance with the
provisions of Rule 10 of the Federal Rules of Criminal Procedure.

        PLEA. The defendant entered a plea of NOT GUILTY. Counsel for the
defendant is requested to contact the U.S. Attorney immediately if the defendant intends
to engage in plea negotiations. If the defendant decides to change this plea, the parties
shall file a notice of intent to plead guilty or otherwise notify the clerk’s office at or
before the pretrial conference and then this action will be set on a plea docket.

        PRELIMINARY SENTENCING GUIDELINES INFORMATION. The court
no longer requires the United States Probation Office to provide preliminary sentencing
guideline information to defendants. However, in difficult or complex cases defendants
may request the United States Probation Office to provide Sentencing Guideline
calculation assistance with the understanding that any estimate is tentative only and is not
binding on the United States Probation Office, the parties or the court. The court expects
that requests for Sentencing Guideline calculation assistance shall be the exception and
that defendants will not make such requests a matter of routine. A request for Sentencing
Guideline calculation assistance shall be made to the United States Probation Office not
later than 10 days from the date of this order.

       PRETRIAL CONFERENCE. An initial pretrial conference is hereby set for
5/20/2015 at 9:00 a.m., in Courtroom 5A, United States Courthouse Complex, One
Church Street, Montgomery, Alabama. Not later than three (3) days prior to the date
of the pretrial conference, counsel shall confer about the issues and matters to be
discussed at the pretrial conference as set forth in this order. Counsel who want in-
custody defendants to attend must notify the Magistrate Judge within three days of the
conference date so that an order to produce can be issued to the United States Marshal.

       At the pretrial conference defense counsel and counsel for the government shall be
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fully prepared to discuss all pending motions, the status of discovery, possible
stipulations, and the estimated length of the trial. The defense counsel and counsel for the
government shall be fully prepared to provide a definite commitment as to the final
disposition of this case - by trial, plea or other non-trial disposition. If resolution of a
dispositive motion will affect the nature of this commitment, counsel must be fully
prepared to discuss this type of resolution. If the case is for plea, the notice of intent to
enter a plea should be filed at the time of the pretrial conference. If counsel require
additional time for plea negotiations, counsel should be prepared to inform the court
about the date when those negotiations will be completed.

      TRIAL. The case is set for trial before Senior United States District Judge
Myron H. Thompson on the trial term beginning on 7/27/2015 at 10:00 a.m., unless
otherwise ordered by the court.

          In setting this case for trial on the term indicated above, the court recognizes that
the Speedy Trial Act places limits on the court’s discretion, and that under the act, the
trial of a defendant must commence within 70 days of the date of the indictment or the
date of the defendant’s first appearance before a judicial officer, whichever is later. 18
U.S.C. § 3161(c)(1). In determining whether a case should be set after the expiration of
the 70 day period, a court must consider among other factors “[w]hether the failure to [set
the case at a later date] . . . would be likely to . . . result in a miscarriage of justice.” 18
U.S.C. § 3161(h)(8)(B)(I). The court also must consider “whether the failure to grant
such a continuance . . . would deny counsel for the defendant or the attorney for the
government the reasonable time necessary for effective preparation, taking into account
the exercise of due diligence.” 18 U.S.C. § 3161(h)(8)(B)(iv). Based on the nature of
this case, the parties’ need for adequate time for discovery and the need for counsel to
have adequate time for trial preparation, the court finds that the ends of justice served by
setting this case on this trial term outweigh the best interest of the public and the
defendant in a speedy trial. Any requested voir dire questions and jury instructions must
be filed no later than one week before jury selection.


       PRETRIAL MOTIONS. All pretrial motions under Fed.R.Crim.P. 12(b) and (d),
14 and 16, all notices under Fed.R.Crim.P. 12.1, 12.2 and 12.3, and any motion to compel
pursuant to M.D. Ala. LCrR 16.1 Criminal Discovery must be filed no later than TWO
DAYS BEFORE THE FIRST PRETRIAL CONFERENCE HELD IN THIS CASE.
No motion filed after this date will be considered unless filed with leave of court. Unless
otherwise ordered by the court, the continuance of the trial of a case will not extend the
time for filing pretrial motions. THE CONFERENCING REQUIREMENT SET
FORTH IN M.D. Ala. LCrR 16.1(c) CRIMINAL DISCOVERY SHALL BE MET

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BEFORE THE COURT WILL CONSIDER ANY DISCOVERY MOTION. THE
COURT WILL NOT GRANT MOTIONS TO ADOPT MOTIONS FILED BY
OTHER DEFENDANTS.

       Motions to suppress must allege specific facts which, if proven, would provide a
basis of relief. This court will summarily dismiss suppression motions which are
supported only by general or conclusory assertions founded on mere suspicion or
conjecture. All grounds upon which the defendant relies must be specifically stated
in the motion in separately numbered paragraphs in a section of the motion which is
labeled "Issues Presented.". Grounds not stated in the "Issues Presented" section of
the motion will be deemed to have been waived. See generally United States v.
Richardson, 764 F.2d 1514,1526-27 (11th Cir. 1985).

      The government shall file a response to all motions filed by the defendant on or
before five days prior to the date set for a hearing on the motion or, if no hearing is
necessary, on or before ten (10) days after the date of the pretrial conference.

       DISCOVERY. All discovery in this action shall be conducted according to the
requirements of M.D. Ala. LCrR 16.1 Criminal Discovery. A copy of this Rule may be
found at http://http://www.almd.uscourts.gov/docs/lorules.pdf. Unless the government
provided initial disclosures to defendant prior to or at arraignment, the government is
ORDERED to tender initial disclosures to the defendant on or before 4/6/2015.
Disclosures by the defendant, as required by M.D. Ala. LCrR 16.1(a)(4) shall be provided
on or before 4/13/2015.

      JENCKS ACT STATEMENTS. The government agrees to provide defense
counsel with all Jencks Act statements no later than the day scheduled for the
commencement of the trial.1

       MANDATORY APPEARANCE OF COUNSEL. Counsel of record for all
parties are ORDERED to appear at all future court proceedings in this criminal case.
Those attorneys who find it impossible to be in attendance (especially at the pretrial
conference, jury selection, or trial) must make arrangements to have substitute counsel
appear on behalf of their clients. Any attorney who appears as substitute counsel for a
defendant shall have full authorization from the defendant to act on his or her behalf and
be fully prepared to proceed. Substitute counsel shall not be counsel for a co-defendant
unless permitted by the court after proper motion. Any counsel who wishes to have


       1
           In certain complex cases, the government may agree to earlier production.

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substitute counsel appear must obtain permission of the court in advance.

      NOTE: Except in extraordinary circumstances or circumstances in which the
Constitution would require it, the court will not entertain motions to withdraw filed
by counsel who appear at arraignment unless the motions are filed within seven
days of the date of this order. Failure to obtain fees from a client is not an
extraordinary circumstance.

      Done this 6th day of April, 2015.


                                  /s/ Wallace Capel, Jr.
                                  WALLACE CAPEL, JR.
                                  UNITED STATES MAGISTRATE JUDGE




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